                       Case 4:23-cv-04155-YGR Document 333 Filed 06/24/24 Page 1 of 13




 DATE: 06/14/2024 09:02:25 AM
                                                                                                      4




 UNITED STATES DISTRICT COURT                                                                             JUfif OA PflOA
 NORflHERN DISTRICT OF CALIFORNIA                                                                                  "'T
                                                                                                  Clerk u§
 CALIFORNIA COALITION FOR WOMEN PRISONERS,                                                                R'F'^ICTof'?^'^OUrt
   Plaintiffs.                                                                                            ^^KLAND^^fORNiA
 MAKASINI LOMU,
 RHONDA FLEMING,
  Class Members/Interested Parties,

 V.       "                                               NO. 23-CV-04155-YGR
 UNITED STATES OF AMERICA, at al.
      Defendants.

 CLASS MEMBERS LETTER BRIEF TO THE COURT FOR EMERGENCY RELIEF

 Dear Judge Gonzalez-Rogers:

 We are not wasting your time. We are in dire straits at Federal Prison Camp-Bryan. We know you don't like liars or
 embellishments. There will not be any. We will give you the facts. We have documents to support our need for your
 EMERGENCY intervention, as follows:

'SPECIFICE RELIEF WE NEED:

 1..We need an Order stating any medications, medical devices, or medical treatment previously ordered/prescribed by a
 licensed physician prior to being transferred from FCI-Dublin, should be immediately administered by Health Services
 - employees at'FPC-Bryan(and likely wherever other AlC were transferred).
 2. We need an Order to Warden Tanisha Hall to perform professional mold remediation in the housing units or provide a
 reasonable accommodation, engaging in the interactive process, to prevent the ongoing suffering we are experiencing from
 excessive toxic mold and asbestos.

 3. Referral of criminal HIPPA violations and victim/witness intimidation to the appropriate U.S. Attorney's Office.
  WHY THIS EMERGENCY RELIEF IS NEEDED                          -

  We"are presently being denied medications and medical devices(Cpap'"machine) prescribed by licensed physicians. We have
  not been seen by a licensed physician, nor to our knowledge has a licensed physician reviewed our medical records. We are
  being denied medications and medical devices approved, in some cases,for over 7 years, by specialists in the community.
  At this time, a nurse practioner, a Ms. Brunskill, has had the authority to override and disregard all medical orders by licensed
  physicians. We are aware the Court has heard this is going on at all federal prisons where AlC from FCI-Dublin were
  transferred.

  We have COPD, asthma, and other respiratory illnesses which developed while in the custody of the Defendants, due to their
  failure to perform preventive building maintenance, specifically, professional remediation of toxic mold and asbestos
  contamination. Exhibit-       . Fleming Medical Record admitting Mold caused respiratory illness. The same conditions exist at
  FPC-Bryan, possibly worse, due to the excessive humidity and heat of Texas. The molds are visible to the eye. Employees
  and AlC have stated the ventilation system is encrusted with toxic mold and other substances.
  As usual, the warden of this prison alleges there is no toxic mold and asbestos, but the Court has heard this false allegation
  before, which was later recanted at FCI-Dublin.
                       Case 4:23-cv-04155-YGR Document 333 Filed 06/24/24 Page 2 of 13


 TRULINCS 20446009 - FLEMING, RHONDA ANN - Unit: BRY-B-A


 Based on our respiratory disability, we have requested a reasonable accommodation. Warden Tanisha Hall has refused to
 compjy with the FBOP Program Statement titled: Management of Inmates with Disabilities, No.                     C^(p            The
 warden has failed to comply with the Rehabilitation Act, by engaging in the interactive process, thus discriminating against us.
 See our request to the warden: Exhibits- ^ & C-
 This is routine behavior for the FBOP. Please see, Romero v.
 Southern District of California,(March (3.2024)(FBOP employee becomes ill due to toxic mold in the prison, former warden
 Art Dulgov, sends letter to remove sick plaintiff from his job).

 CCWP advocates have made efforts to notify Warden Hall of an AlC need for a Cpap machine. The warden committed a
 criminal violation of HIPPA regulations by releasing Makasini Lomu's personal medical information, in a derogatory manner, to
 a prisoner advocate, Crystai Le, without authorization from Ms. Lomu. Exhibit- T/ . Emails between Ms. Le to Ms. Fleming,
 May 28-29, 2024. Ms. Le did not ask for any personal information, and even if she had, without authorization normally the
 FBOP will not release any information. AlC have been on their death bed and family members were denied any information.

 This matter was reported to the Special Investigative Agent for the prison on May 29, 2024. On May 30th, Warden Hall was
 interviewed/questioned by some investigative authority. The employees were rejoicing, telling AlC, the warden was gone.

 This was not true. At dinnertime. Warden Hall was standing outside of Food Service, screaming, "I did not go to jail! Elizabeth
 Holmes(an AIC~Theranos founder) did you think the FBI took me to jail?," along with many other crazy, intimidating, and for the
 employees, embarrassing behaviors by a warden.

 A few days later. Warden Hall wore a t-shirt which stated, "Pray for me, DON'T PLAY WITH ME!" We took it as a threat. Since
 then^ numerous employees have been threatened with being fired, by Warden Hall, as recently as June 13, 2024. Yes, as they
'did at FCI-Dublin, FBOP employees are speaking out, teliing about the warden's misconduct.

 In one instance, it has been related there is some type of contract fraud, where a contractor is being paid $20,000 per
 cosmetology student, when this contractor charges less than $10,000 at her "school" in the community. TOs is not the first time
 there h^s been allegations of fraud associated with FPC-Bryan and the cosmetology program. Exhibit- ^ , News Article on
 fraud at FPC-Bryan.

 A response to a grievance, signed by Warden Hall, on June 3, 2024, was verbatim of the email sent to Ms. Le. Exhibit- f-
 This is proof the warden and/or her employees released personal, confidential medical information without authorization.
 Please compare the email response from Ms. Le to the warden's grievance response. Clearly, this personal medical
 information was unlawfully provided to Ms. Le, by FPC-Bryan employees.

 There is ongoing PREA issues. One Education Departmentemployee has been turned in by his own wife for misconduct with a
 former AlC. The warden allows this man and others reported for sexual abuse to remain on the compound. It is being alleged
 the employees have incriminating evidence against the warden.

 There has been banning of books and a failure to follow the FBOP Program Statement for Incoming Publications, No.
           ,11. Employees assigned to the mailroom were instructed to throw one specific book in the trash. The AlC were
 not afforded the opportunity to review the book and file a grievance. The books were never returned to Amazon. Exhibit-
   ^ BP-9 Sensitive Grievance. We do not know if the grievance made it to the Regional Director. When we requested a
 receipt, none was provided for this grievance.

 Because we have reported a variety of criminal conduct at FPC-Bryan, we have been offered a transfer to FPC-Greenville. This
 prison is not near our families. We did not request such a transfer and even if we did, the FBOP does not transfer women
 within 30 days of arriving at a prison, unless there is a disciplinary, security issue. This caveat does not apply to us.
 The offer of the transfer is an implicit threat for us to leave the prison or else. We have already been given false incident
 reports.

 The offer of the transfer is to evade the Court's order to provide reports on our status every 30 days. This warden does not
 want to comply with the Court's order, therefore, she is attempting to intimidate us off the prison compound or create some type
 of disciplinary event(similar to Art Dulgov's scam in January 2024), to warrant transfer out of her prison.
 CONCLUSION

 We see our circumstances as a civil rights struggle for women. The FBOP is allowing wardens to attack women who have not
                       Case 4:23-cv-04155-YGR Document 333 Filed 06/24/24 Page 3 of 13


TRULINCS 20446009 - FLEMING, RHONDA ANN - Unit: BRY-B-A


 done anything to warrant threats and denial of medical care. They refuse to comply with President Biden's indoor air quality
 enviropmental regulations. Everything we have stated can be verified by the FBOP's own emails and other documents. There
 is theft, fraud, sexual misconduct, denial of medical care, dangerous environmental conditions, and retaliation.

 Yet Warden Tanisha Hall repeatedly states, "This is not Dublin."

 Respectfully Submitted,

 Makasini Lomu,#

 RhonHaVlemir^,# ^0                   ^O^
 June 14, 2024

 FPC-Bryan
PO Box 2149
 Bryan, Texas 77805

 CERTIFICATE OF SERVICE

 Service is performed by the electronic filing of this document by the District Clerk.

 Makasini Lomu

,Rli^na Fleming




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                   Case 4:23-cv-04155-YGR Document 333 Filed 06/24/24 Page 4 of 13




                                                  Bureau of Prisons
                                                   Health Services
                                          Inmate Intra-system "^rahsfei:;
«^Reg #: 20446-009                         Inmate Name: FLEMING, RHONDA ANN

SENSITIVE BLTT UNCLASSIFIED —This InfonmaHon is-confidential and,must be appropriately safeguarded.
TB Clearance: Yes
                                                                                                •   ■■■ W
                   Last PPO Date: 03/30/2024                                        Induration: 0mm
           Last Chest X-Ray Date:                                                     Results:
                     TB Treatment:                                         Sx free for 30 days: Yes
 T6 Follow-up Recommended: No

Transfer To:                                                  Transfer Date: 04/12^024
Health Problems
  Health Problem                                                                      Status

  Anemia, unspedfied                                                                  Current

  Vitamin D defidency.                                                                Current

  Disorder of lacrimal system                                                         Current
  Unspedfied disorder of conjunctiva                                                  Current
     keratoconjunctivitis sicca
  Pre                                                                                 Current
  Chronic sinusitis, unspedfied                                                       Current
 ' DUE TO EXPOSURE TO MOLDS AT BOP TALLAHASSEE FLORIDA
  Chronic obstructive pulmonary disease[GOPDj                                        Current

  Asthma                                        —                                    Currerit
  Sdatica, unspedfied side                                                           Current
     subjective radiating pain lower left leg ■
     negative staight test                   .»
  No Diagnosis                                                                       Current
  Encounter for exam and observation following alleged adult rape[PREA Exam]         Current

  Intake Observation                                                                 Current
  Adjustment Disorders: With Mixed/\nxiety And Depressed Mood                        Remission
  Post COVID-19 condition,.uhspedfied                  ^                             Remission
  Bariatiic surgery status                                ^                          Remission
        2003, resulting loss >50% Ixxly weight and resolution HTN"^and diat)etes.
  Body mass index(BMI)35.0-35.9, adult                                               Remission


Medications: All medications to be continued until evaluated by a physidan unless otherwise indicated. Bolded drugs
required for transport
   Albuterbi Inhaler HFA(8.5 GM)90 MCG/ACT Exp: 08/18/2024 SIG: Inhale 2 puffs by mouth four times'daily
   AS NEEDED shortness of breath."Empty container is to be returned for refill"
   Cyanocobalamin (Vit B-12)1000 MCG Tab Exp:08/18/2024 SIG: Take one tablet(1000 MGG)by mouth each
   day(vitamin 812)
   cycloSPORINE Emulsion 0.05% Ophth(0.4ml) SOcount Exp: 08/12/2024 SIG: Instill one drop into both eyes
   twice dally AS NEEDED.only #1 box per month
  DULoxetine HOI Delayed Ret 60 MG Cap Exp: 08/18/2024 SIG: Take one capsule(60 MG)by mouth twice
  dally
  Ferrous Gluconate 324(5 GR)MG Tab Exp:02/19/2025 SIG: Take one tablet by mouth dally
  Flutlcasone/Salmeterol 250-^,#60 Inhal. Exp: 08/18/2024 SIG: Inhale one Inhalation by mouth twice dally.
  **rlnse mouth after use**"Empty container Is to be returned for refill"
  Tlotroplum Bromide HandlHaler 30 Cap 18 MCG Inh Exp:08/18/2024 SIG: Use Handihaler device to Inhale
  the contents of one capsule by mouth via handihaler each day(Do not swallow capsules)

OTCs: Listing of all known OTCs this inmate Is currently taking.
    None
                      Case 4:23-cv-04155-YGR Document 333 Filed 06/24/24 Page 5 of 13                                                     rs       ■




 TRULINCS 20446009 - FLEMING, RHONDA ANN - Unit: BRY-B-A


 FROM; 20446009
 TOf Health Services                                                                                                                  ;v;
 S.UBJECT: *"Requestto Staff*" FLEMING. RHONDA, Reg# 20446009, BRY-B-A
' DATE: 05/06/2024 12:41:38 PM

 To: Acting HSA & PA
 Inmate Work Assignment: A/0

 RE: REQUEST FOR DISABILITY ACCOMMODATION

 Acting HSA and PA,
                                                                                                                                     :r:
 As an AlC with a recognized disability, I am requesting a disability accommodation.
                                                                                                                                      :        r
 Today, I have an appointment with the PA, at 2pm. Because I suffer with many physicial and mental impairments, especially >:
 I^ter in the day, caused by exposure to mold and asbestos, I routinely write my concerns, prior to my appointments.
 C

|"-will have my medical transfer record. This document clearly states I have certain diseases due to exposure to mold. We can
 agree there is toxic mold and asbestos in the prison housing units.

 I.am a perspn with a disability. Federal guidelines defines a person with a disability, as one who has a physical or mental
 impairment that substantially limits one or more major life activities, a record of such impairment, or is regarded as having such
 an impairment. 29 Code of Federal Regulations Section 1630.2(g).

 Major life activities include, but are not limited to   seeing, hearing, sleeping, walking, standing, lifting, bending, speaking,
 breathing, thinking, etc..

 Due to long term, continuous exposure to toxic mold and asbestos, my impairments substantially limits all of the above major';
life ai^ivities. The FBOP medical records support this fact. I developed these diseases in prison, due to poor building
ihainfehance.
 pight now, I am exposed to toxic mold, 24 hours a day. I have several documented respiratory illnesses.
 I have asked the warden to be transferred to home confinement or a halfway house. This is an accommodation which should
 be provided to me, based on my disability. I have continuous Bronchospasm events. I am tired but can't sleep, because I am
coughing most of the night. The hdq pink cleaner sets off coughing spasms. I am in pain all day, all over. I suffer with chronic
fatigue.                                                        r                                                                    '
 •t.


,(^m requesting to be medically unassigned until Dr. Hall can relay this*matter to the Central Office, to provide me with a
 disability accommodation.

Thank You,

 phonda Fleming

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                      Case 4:23-cv-04155-YGR Document 333 Filed 06/24/24 Page 6 of 13


TRULINCS 25251081 - LOMU, MAKASINI - Unit: BRY-B-A


 FROM: 25251081
TO: Warden
SUBJECT:***Requestto Staff*** LOMU, MAKASINI, Reg# 25251081, BRY-B-A
 DATE: 06/05/2024 01:13:07 PM

 To: Warden
 Inmate Work Assignment: unicor

 Warden,

 I am requesting a reasonable accommodation for my respiratory disability. I have asthma, COPD,sleep apnea, kidney disease,
 and many other medical conditions.

 Due to the toxic mold and asbestos contamination, I am having difficulty breathing, cannot sleep, coughing spasms, chronic
 fatigue, and other ailments which deny me the ability to participate in programs and activities available to other AlC.
 The accommodation I am seeking is transfer to home confinement. I have a home where the air ducts have been cleaned. I
 am highly sensitive to mold spores.

 Please refer to the Program Statement for Management of Inmates with Disabilities.
 Thank You,

, M. Ssmu




                                                                                               Bi-'C.
                       Case 4:23-cv-04155-YGR Document 333 Filed 06/24/24 Page 7 of 13


TRULINCS 20446009 - FLEMING, RHONDA ANN - Unit: BRY-B-A


FROM: 20446009
TO: Lg, Crystal
SUBJECT: RE: RE: Hello
DATE: 05/23/2024 08:29:36 PM

Hello Crystal,

Please file a complaint and use my name. I spoke with Agent Joshua Brown, with the Office of Internal Affairs today. I told him
the warden at this prison is trying to run me and Maka out of the prison. The prison officials offered to transfer us to Greenville,
Illinois. We just got here. Why would we transfer?

This evening, they are threatening Maka with disciplinary action for something about a uniform. The warden is a bad person,
just like Dulgov.. Her name is Tanisha Hall. She is verbally abusive to the women here.
 I have to get off the computer.

Best,

Rhonda
    Le, Crystal on 5/23/2024 6:06 PM wrote:



,Hi Rhonda,

Thank you for your messages and update on what is happening at FCI Bryan. I'm so sorry and incensed that you are
experiencing the same disregard and harm that you did at Dublin. I will work with other CCWP members to see how we can get
 Maka her CPAP machine and contact OSHA/the EPA. I'll also plan to file an individual complaint. Would you be alright with me
Jndudinf what you included here? And if so, would you like me to include your name?

Thank you for letting me know you received the $100. You are a fierce advocate, and we are humbled to be in this fight with
 you.

 Sending you and Maka my warmest regards.
 Crystal

 RHONDA ANN FLEMING on 5/19/2024 12:34:28 PM wrote
 Crystal,                     •—

thank you for emailing. Makasini "Maka" Lomu and I are in Bryan, Texas. We have had some struggles, like the rest of the
 women out there, all over the United States.

 Maka has been pleading for her Cpap machine. She has used this machine for over 7 years. Health Services refuses to
 provide one for her. They continue to lie, stating they are waiting for Dublin to send it. Dublin is closed. They are not sending
 anything.

 The same conditions we litigated at FCI-Dublin are present at FPC-Bryan...lack of medical care, toxic mold/asbestos, and
 sexual abuse. The prison officials are very good at blocking the reporting of sexual abuse and/or telling victims NOT to make a
 report to DOJ-Sex Abuse.

 Thank you for the $100. It will be spent on continuing our cause. I use a lot of postage and email credits writing the media,
 attorneys, and prisoner advocates to help all of us.

 All of you are such a blessing.. I love you truly.                                        ^^^                      ^
 Rhonda Fleming
                       Case 4:23-cv-04155-YGR Document 333 Filed 06/24/24 Page 8 of 13


 TRULINCS 20446009 - FLEMING, RHONDA ANN - Unit: BRY-B-A


 FROM: Le, Crystal
 TO: 2Q446009
 SUBJECT: RE: Updates 5/28
 DATE: 05/29/2024 09:06:03 PM

 Yes, let us see what the EPA and other agencies conclude. The folks I reached out to at the EPA have looped in the TX
 Department of State Health Services, Consumer Protection Division (Mr. Jonathan Murphy), who reached out to Ms. Dreiver.
 They've also looped in Managers from the EPA Region 6 Water Division and Air & Radiation Division. I will keep an eye out for
 updates.

 Re: Makh, I heard back from the administration as well. Below is what they shared. My orientation is to always take what they
 say with a grain of salt, but it sounds like a machine is on the way? Fingers crossed. If there's anything wrong below, or if Maka
 would like me ta lift up anything else about her CPAP, please feel free to let me know.

^^IC Lomu had a consultation for a sleep study on 05-22-2024, to which she was given the equipment but did not complete the
: sleep study citing she forgot. Health Services re-instructed her on May 24, 2024, and she completed the sleep study and
1 returned the machine on May 26, 2024. On May 28, 2024, the sleep study machine was sent to Virtuox which is the company
\ who reads the results to get a baseline assessment to order her a new CPAP.. I hope this information addresses.your
I concerns."                                                                                                          '           ^

 RHONDA ANN FLEMING on 5/29/2024 8:06:16 AM wrote
 Many thanks to you Crystal, and I will let Maka know. I received notice from the warden over here stating, in writing, there is no
 "mold or asbestos" problem at the prison. Well, the EPA and other state regulatory agencies will make that decision. The
,warSeh does not understand the seriousness of the allegations, and her liability by making such a statement without testing for
 these substances.

 twill keep you guys posted. I came with peace in my heart, they decided to test me. So....now,'if another prison is closed, we
 are not going to be sad. We learned from the last experience so we will be ready for them.

 God allowed us to be here. The judge has jurisdiction over this prison because the BOP sent us here. We will use this to our
 advantage.

 Maka and I love and pray for all of you....and our incarcerated sisters.

 Rhonda
     Le, Crystal on 5/28/2024 9:51 PM wrote:



 Hi Rhonda,

 How are you doing -today? Thanks so much-for your updates. I thought I'd reach out with some quick updates of my owOplVe
 ne^hed out to Warden Hall about Maka's CPAP machine, as well as the EPA regarding the toxic conditions at FPC Bryan. The
 template you forwarded was extremely helpful. I also appreciate your updates on Judge Lin's decision and a similar case with
 Dulgov. Will log them. Ugh indeed, how do these people keep failing up?

 On another note, CCWP recently hosted a townhall around how horribly the Dublin closure went down. A handful of folks who
 were released generously shared their experiences and their commitment to not leaving their fellow Dublin siblings behind.
 Community members on the call were fired up and eager to support to the fight to get you all home and demand accountability
 from the BOP. The call was a lot to process, but ultimately it underscored how all of these BOP institutions have to be
 dismantled. The fight continues.

 Sending you love and continued strength,                                                   s— \ r
 Crystal                                                                                   C             [)^
                      Case 4:23-cv-04155-YGR Document 333 Filed 06/24/24 Page 9 of 13



TRULINCS 57127177 - ROSALES, RHONDA KAY - Unit: BRY-B-A


FROM: Espitia, Christine
TO: 57^27177
SUBJECT: Article
DATE:07/28/2021 07:36:03 AM

Is this the article you were asking about?

Federal Bureau of Prisons Cosmetology Program Under Investigation By State of Texas Licensing Agency
By Lynn Espejo - June 17, 2021

The Cosmetology program at the Federal Bureau of Prisons(BOP)camp at Bryan, Texas, is under investigation by a state
licensing agency.. The Texas Department of Licensing & Regulation (TDLR)is investigating the program at the camp.
Since sometime last year, TDLR has been seeking cooperation from FPC Bryan staff, in an attempt to verify the hours reported
by the prison camp for classes taught to inmates participating in its Cosmetology Program. The program is offered to inmates
in conjunction with the state licerising board. The hours in question, were reported to the State of Texas by staff working at the
camp.


Earlier this year, an investigator from TDLR, told this reporter that staff at the camp had blocked the Texas government agency
from getting records, causing a power struggle between State and Federal legal eagles. Later, the matter was referred to a
prosecutor within the department, for possible prosecution. It is unclear where the investigation stands at the current time.
FPC-jp/yan's staff members Erin Valentine-Godwin, Supervisor of Education & Recreation, and Mark Cameron, Education
Specialist, originally agreed to cooperate and provide the information the TDLR state investigator was seeking. However, the
following day, the investigator was contacted by a legal representative from the South-Central Regional Office of the BOP, who
refused to provide the records without a court order. It would appear that the BOP attempted to prevent or stall the
investigation.

The'BOf^ has come under fire this past year for its mishandling of the COVID-19 pandemic. On May 31, 2021, the New York
Daily News reported,"In March, Bureau of Prisons Director Michael Carvajal was hammered during testimony before a House
of Representatives subcommittee for the agency's response to the pandemic"."You and your staff are incompetent and should
be fired. Rep. David Trone (D-Md.)told Carvajal."

The agency has also been under scrutiny since 2019, after Jeffrey Epstein, a high-profile inmate, was found hanged to death in
his cell at the Metropolitan Correctional Center in New York. The New York Daily News reported that the two federal
correctional officers indicted in that case scored a "deferred prosecution with the United States Attorney's office in Manhattan."
Per the report, the two planned to "defend themselves as scapegoats for a deeply dysfunctional system had they gone on trial."
Tova Noel and Michael Thomas admitted "they falsely filled out paperwork certifying they had conducted required rounds and
inmate head counts at the Metropolitan Correctional Center in the hours before Epstein was found dead in his cell early on Aug.
10, 2019." Sources close to the pair said "falsification of documents is common at the jail and throughout the Bureau of
Prisons." "One source described falsely filling out paperwork as "closer to a norm than an anorrialy" in federal lockups."'

Internal Affairs policy for the Federal Bureau of Prisons states in part, "Waste,fraud, abuse, mismanagement, and staff
misconduct will be reduced." And "Evidence will be properly collected, handled, and preserved.""When appropriate, evidence
will be provided to other agencies." Nowhere in the policy does it require a court order for another agency to get information
needed for an investigation. So why did the BOP refuse to turn over the information requested by the state agency?
FPC Bryan's Cosmetology program is funded by money from the federal govemment. Because the classes are paid for with
taxpayer dollars, the classes are free to inmates at the camp. The school is located on the prison grounds in Bryan, Texas, and
accepts 25 inmates per year to work toward their cosmetology license.

The question here did the inmates really get the amount of training and hours that were reported to the State of Texas? And if
not did the federal employees who reported incorrect hours commit fraud?
           Case 4:23-cv-04155-YGR Document 333 Filed 06/24/24 Page 10 of 13




     FEDERAL PRISON CAMP, BRYAN, TEXAS
     Part B - Response to Request for Administrative Remedy
     (1200705-Fl)
     LOMU, Makasini
     Register Number: 25251-081

     This is in response to your Request for Administrative Remedy,
     received May 23, 2024, regarding your medical care.
     Specifically, you are requesting a C-PAP machine.

     A review of your medical records revealed you arrived at FPC
     Bryan on 04/12/2024, stating you were issued a C-PAP machine at
     yoiir last institution, but have not seen it since your arrival
     here. We have communicated several times with staff from your
     previous institution and have made multiple attempts to locate
     and retrieve the C-PAP machine that was given to you. In the
     meantime, FPC Bryan has submitted a consult for you to have a
     current sleep study completed to obtain a baseline assessment of
     your condition and to get you a replacement C-PAP machine. On
     05/22/2024, vqu were given a portable in-house device to
     complete your sleep study and was in structed^_£rL-retrLrn__i±__l;£2_
     medical ^n 05/24/202TT YbtTTrgtlirhed to "th^clinic on 05/24/2024
     stating voiu forqo"E~^hat you—had""tTrF~devic^ so ycm did not
     complete the study. You were instructeo once inore'"^ the proper
     .way to complete "the study and to return the portable 'in-housa
 .device on 05/26/2024, to which vou complied. The device was
  returned priority shipping to its parent company, and we are
  currently awaiting results.


     After review of your medical records, it has been determined
     that your medical care has been appropriate. Accordingly, you
     may consider this response to your Request for Administrative
     Remedy to be denied.

     In the event you are not satisfied with this response and wish
     to appeal, you may do so by submitting a BP-230{10), within 20
     calendar days of the date of this -response, to the Regional
     Director, South Central Regional Office, 344 Marine Forces
     Drive, Grand Prairie, Texas 75051.




              ^ miA.
     Tanisha Hall, PhD.                     Da
     Warden


                                                     ey.' p"
„i
                              Case 4:23-cv-04155-YGR Document 333 Filed 06/24/24 Page 11 of 13
U.S. DEPAIJTTVIEOT                                            ——                         REQUEST FOR ADMINISTRATIVE REMEDY
Federal Bureau of Prisons                                     K.Q/y\^                 ^
                     Type or use ball-poin^en. If attachments are needed, submitfour copies. Additional instructions on reverse.

          'P'l'&Ani          ^(t£>njei yf-^
             LAST NAME,JJgiST, MIDDLE initial' ^ REG. NO.                                                        .
                                                                                                                           &  ~/
                                                                                                                           UNIT                         INSTrrUTION_>/
 Pai-t A- INMATE REQUEST                                                                        /                /          i                             /)

                       5QJ2.J

                                                                 ''




    '^hJ
 Part B- RESPONSE
                  DATH             » '                                                                                 SIGNAXl^KE OF REQUESTER




                                                                                                                                         6 o


                 DATE                                                                                                WARDEN OR REGIONAL DIRECTOR

Ifdissatisfied with this response, you may appeal to the Regional Director. Your appeat must be received in the Regional Office within 20 calendar days ofthe date ofthis response.
ORIGINAL: RETURN TO INMATE                                                                                            CASE NUMBER:

                                                                                                                      CASE NUMBER:
 Part C- RECEIPT
Return to:                ^                           ^                                     ^
                       LAST NAME, FIRST. MIDDLE INITIAL                                          REG. NO.                         UNIT                     INSTITUTION

SUBJECT:                                                  ^                                                                          '                                  '

                 DATE                                                                           RECIPIENT'S SIGNATURE (STAFF MEMBER)
                                                                                                                                                                        BP-229(13)
                      Case 4:23-cv-04155-YGR Document 333 Filed 06/24/24
                                                                r
                                                                         Page 12 of 13




DATE; 05/07/2024 02:20:44 PM



TO WHOM IT MAY CONCERN:

This is my Sensitive BP-9 Statement, reporting criminal activity at FPC-Bryan, as follows:

Warden^Hall has been violating Program Statement 5266.11, titled Incoming Publications, and the Code of Federai Regulations
governing inmate mail. The warden has been rejecting a book titled, "Behind the Walls and Beyond," by Lynn Espejo, a former
federal prisoner.

Ms. EspSjo has sent her book, through Amazon, delivered by UPS or FedEx,4 or 5 times. She sent her book to Jen Shah,
Elizabeth Holmes, Rhonda Rosales, and to me. I am attaching proof of delivery to FPC-Bryan. None of us received the books.

We did not receive notice of rejection. The sender, Ms. Espejo, did not receive a rejection notice. The books were not returned
to Amazon.


Additional proof can be obtained by emailing Ms. Espejo at: lynnespejo@sbcglobal.net She will be mailing a copy of this
statement from her home, to make sure your office receives this BP-9

I spoke to Warden Hall on May 7, 2024. She admitted to me she had been rejecting this book. She stated, "that book will
never enter my prison," then further stated, "that books bashes employees and will not come into the institution."

I asked Warden Hall to comply with PS 5266.11. She said she would "look into it." In other words, she never complied with
FBOP'civil rights protections on Incoming Publications. This is a criminal act.

No FBOP employee has the right to reject mail or publications, without providing Adults in Custody(AIC) with their procedural
due^pfbcess rights.                                                                            '

Sinqe my-ariival from Dublin, Warden Hall has called out her employees to attack me and run me off the compound. What I am
reporting is one of the reasonsior her-behavior. She has allowed them to write faise incident reports, deny disability
accommodations, and threaten me.

Please review all electronic request to staff I have sent Warden Hall since arriving.

They are also covering up sexual abuses and torturing of Jen Shah.

I will be sending this BP-9 statement to Ms. Espejo, in the event Warden Hall and her mailroom staff fail to allow this mail to
leave the prison. They have been throwing away and banning books, in violation of federal criminal and civil laws.-

The relief I request is:

1-. Warden Hall should be removed from FPC-Bryan for committing criminal acts;
2. The mailroom employees should be removed from FPC-Bryan for committing criminal acts;
3. This matter should be immediately referred to the FBOP-Office of Internal Affairs, the FBI, and Postal Inspector;
4. OIA and/or the FBI should be allowed to speak to me; and,
5. Any disciplinary action taken against me should be expunged, immediately.

Rhonda Fleming #20446-009
FPC-Bryan                                                                                             gy-,^
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                      Case 4:23-cv-04155-YGR Document 333 Filed 06/24/24 Page 13 of 13
DATE: 05/05/2024 08:51:02 PM

1/1 They have destroyed all the books that have been sent. I can send you tracking numbers for the others who did not get their
books. They don't even return them to Amazon and they do not call person up to the mail room to reject or send book to a
family member...as is the mail policy requirement. Someone has already had the post master inspector general get a staff fired
there for improper handling of the mail. Here Is info you need.


Shipped with USPS
Tracking ID: 9341989671005924674365

Thursday, May 2
7:14 AM
Package delivered.
Bryan, TX
Wednesday, May 1
11:43 PM
Package arrived,at a carrier facility.
Bryan, TX
10:37 PM
Package transferred to another carrier for delivery.
Bryan, TX US
8:07 PM
Package left an Amazon facility.
Humble, TEXAS US
12:29 PM
Package arrived at an Amazon facility.
Humble, TEXAS US
Carrier picked up the package.      On Sunday, May 5, 2024 at 02:37:43 PM CDT, <rfleminglhhw@emallinterface.org> wrote:
Lynn, •

I will be filing a grievance, tomorrow, on the book situation. I have the tracking number and title. That is all I needed.

These are 2 issues that you may want to run by attorneys that take these cases. I will exhaust the remedy process, quickly.
The book and the cross are First Amendment issues!

Rhonda




My email is lynnespejo@sbcglobal.net 10uj2m
